                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


KC Tenants,

       Plaintiff,                               Case No. 20-000784-CV-W-HFS

v.

David M. Byrn, et al.,

       Defendants.



                              MEMORANDUM TO COUNSEL

      Because the Moratorium expires in six or seven weeks (subject to renewal)

there seemed to be a need for quick relief, if there is entitlement. A summary

ruling before defendants' reply to the motion to dismiss seemed appropriate. Two

factors now suggest a reply would be helpful, even if a ruling is a bit delayed. The

Missouri associate circuit judges are not, according to their reports, issuing many

(if any) eviction orders in contested cases. Also, the precedent of disabling state

court eviction proceedings by a federal judge using a court administrator for that

purpose seems increasingly novel and significant. Speaking through Chief Judge




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Lay, the Circuit noted "significant considerations of comity and federalism" in an

unrelated case, Loftin, 882 F.2d 300, 301. Therefore I shall await the completion

of briefing under the Local Rules.



                                          /s/ Howard F. Sachs

                                      HOWARD F. SACHS
                                      UNITED STATES DISTRICT JUDGE

November 9, 2020

Kansas City, Missouri




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